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 6                                    UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA
 8
                                                      *****
 9     UNITED STATES OF AMERICA,
10               Plaintiff,                                        3:01-CR-00129-LRH-VPC
11
                 v.
12                                                                 ORDER
       GRISELDO ORTIZ-MONROY,
13
                 Defendant.
14

15               Before the court is defendant Griseldo Ortiz-Monroy’s motion for a reduction of his

16     sentence pursuant to 18 U.S.C. § 3582(c)(2). ECF No. 189. 1 Ortiz-Monroy and the United States

17     subsequently filed a joint stipulation in favor of a sentence reduction. ECF No. 199. This motion

18     is premised on Amendment 782 to the United States Sentencing Guidelines (“the guideline(s)”),

19     which lowers the recommended sentence for certain drug crimes and applies retroactively to

20     previously sentenced defendants. United States v. Navarro, 800 F.3d 1104, 1107 (9th Cir. 2015).

21               The U.S. Probation Office prepared a reduction-of-sentence report, which documented

22     numerous infractions by Ortiz-Monroy throughout his incarceration. The report concluded that

23     he poses an increased risk to public safety and thus did not recommend a reduction to Ortiz-

24     Monroy’s original sentence.

25               In deciding whether to reduce a defendant’s sentence following the U.S. Sentencing

26     Commission’s modification of a guideline range, a court must consider the factors set forth in 18

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28         This citation refers to the court’s docket number.
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 1     U.S.C. § 3553(a). 18 U.S.C. § 3582(c)(2). Here, the parties have made their “joint

 2     recommendation after having reviewed [Ortiz-Monroy’s] progress reports from the Bureau of

 3     Prisons, along with other relevant records.” ECF No. 199 at 4 n.1. However, the stipulation does

 4     not provide even a summary of these reports or discuss what facts would justify a sentence

 5     reduction in this case. The parties have requested an opportunity, in the event the court is not

 6     inclined to grant the reduction, to provide the court the records to which they allude and make

 7     additional arguments in support of their stipulation. Id.

 8            Because the Probation Office concluded that Ortiz-Monroy poses an increased risk to

 9     public safety, the court finds that additional briefing is necessary. The parties may submit the

10     relevant records and points and authorities that support a sentence reduction.

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12            IT IS THEREFORE ORDERED that the parties will have thirty days from the date of

13     this order to submit additional briefing in support of their joint stipulation to reduce Griseldo

14     Ortiz-Monroy’s sentence pursuant to 18 U.S.C. § 3582(c)(2).

15            IT IS SO ORDERED.

16            DATED this 4th day of October, 2016.

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18                                                           LARRY R. HICKS
                                                             UNITED STATES DISTRICT JUDGE
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